               Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA

          v.                                            Case No. 1:23-cr-00257-TSC

     DONALD J. TRUMP,

                       Defendant.

         PRESIDENT DONALD J. TRUMP’S SUPPLEMENT TO MOTION TO DISMISS

    I.    Introduction

          President Donald J. Trump respectfully submits this supplement to the pending motion to

dismiss based on statutory grounds, ECF No. 114 (the “Motion”), and incorporates all previous

statutory and Constitutional arguments, see id; ECF No. 113, as applied to the Superseding

Indictment.

          The Superseding Indictment stretches generally applicable statutes beyond their breaking

point based on false claims that President Trump is somehow responsible for events at the Capitol

on January 6, 2021. The Special Counsel’s Office seeks to assign blame for events President

Trump did not control and took action to protect against. The Special Counsel blatantly ignores

the fact that federal prosecutors have taken the opposite position in this District. 1 It is apparently

of no consequence, to the Office and those who support their efforts, that former Speaker of the

House Nancy Pelosi was caught on a previously undisclosed video accepting “responsibility” for




1
  See, e.g., ECF No. 56 at 2, United States v. Carpenter, No. 21 Cr. 305 (D.D.C. Dec. 21, 2022)
(“Nor can there be any reasonable claim that President Trump intended to or actually authorized
the Defendant’s particular criminal conduct.”); id. at 3 (“The Defendant will be unable to identify
any remarks made by former President Trump that authorized that illegal conduct.”).

                                                  1
         Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 2 of 14




the events at the Capitol.2 Even one of the Office’s star witnesses, General Mark Milley,

acknowledged long before charges were brought in this case that President Trump had instructed

the Defense Department on January 3, 2021 to “make sure that you have sufficient National Guard

or Soldiers to make sure it’s a safe event.” 3

        However, one thing the Special Counsel’s Office cannot ignore or hide from is binding

precedent. The Supreme Court’s decision in Fischer v. United States, 144 S. Ct. 2176 (2024), is

yet another key application of the rule of law to reject lawfare overreach targeting President Trump.

See, e.g., Trump v. United States, 144 S. Ct. 2312 (2024); Trump v. Anderson, 601 U.S. 100 (2024).

Fischer requires the dismissal of Counts Two and Three of the Superseding Indictment, and its

logic fatally undermines Counts One and Four as well.

        Section 1512(c)(2) was enacted in response to corporate document shredding that bears no

resemblance to the allegations in the Superseding Indictment. Under Fischer, the Office may not

use the statute as a catchall provision to criminalize otherwise-lawful activities selectively

mischaracterized as obstructive by those with opposing political views. As Fischer confirms,

§ 1512(c)(2) requires proof of evidence impairment coupled with corrupt intent. Once stripped of

President Trump’s official acts subject to immunity and protected First Amendment political

advocacy, the Superseding Indictment lacks sufficient factual allegations to support either element

as required by Counts Two and Three. President Trump expressed sincere and valid concerns

about the integrity of the 2020 election pursuant to his authority as the Chief Executive. He was


2
 Press Release, H. Comm. on Admin., Nancy Pelosi Contradicts Her Own Narrative of January 6,
HBO Footage Shows (June 11, 2024), https://cha.house.gov/2024/6/nancy-pelosi-contradicts-her-
own-narrative-of-january-6-hbo-footage-shows.
3
 U.S. Dep’t of Def. Office of Inspector Gen., Transcript of Interview of General Mark A. Milley
(Apr. 8, 2021) at 23, https://app.box.com/s/w1mdlicby1o9wrcpfhtdoxi9aljwptos/file/
1640163916382.

                                                 2
         Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 3 of 14




part of open, public discussion regarding use of contingent slates of electors in a manner consistent

with historical practice and contemplated by the then-existing version of the Electoral Count Act

(“ECA”). The congressional record from January 6 reflects lawful debates on certificate objections

contemplated by the ECA, as well as acknowledgement of the historical precedent for the

contingent slates. There is no precedent for a criminal prosecution based on such a record.

       Under these circumstances, the Special Counsel’s Office cannot establish the required

nexus between alleged obstruction and any “evidence” used in the certification proceeding, or that

anyone acted with corrupt intent. Fischer forecloses the Office’s efforts to rely on events at the

Capitol on January 6 to support charges under § 1512(c), as the Superseding Indictment does not

sufficiently allege that President Trump impaired, or intended to impair, the integrity or availability

of any document or other object used in any official proceeding. The limiting interpretation that

the Fischer Court applied to § 1512(c) also strongly supports President Trump’s narrower

interpretation of § 371, as charged in Count One, and § 241, as charged in Count Four.

Accordingly, for the reasons set forth below, as well as in the Motion, the Superseding Indictment

should be dismissed.

 II.   Discussion

           A. Fischer v. United States

       In Fischer, the Supreme Court rejected the “unbounded” interpretation of § 1512(c)(2)

relied upon by the Biden-Harris DOJ, which threatened to “override Congress’s careful delineation

of which penalties were appropriate for which offenses.” 144 S. Ct. at 2187. The petitioner in

Fischer was charged with a violation of § 1512(c)(2) based on allegations that he was part of a

“crowd” that “trespassed into the Capitol,” “was involved in a physical confrontation with law

enforcement,” and “delayed the certification process” on January 6. 144 S. Ct. at 2182. The



                                                  3
           Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 4 of 14




Supreme Court overruled a divided panel of the D.C. Circuit, 64 F.4th 329, and held that the

§ 1512(c)(2) charge was properly dismissed.

          Dismissal was appropriate because § 1512(c)(2) cannot be used as a “catchall provision

that reaches far beyond the document shredding and similar scenarios that prompted the legislation

in the first place.” Fischer, 144 S. Ct. at 2186. “To prove a violation of Section 1512(c)(2), the

Government must establish that the defendant impaired the availability or integrity for use in an

official proceeding of records, documents, objects, or . . . other things used in the proceeding, or

attempted to do so.”       Id. at 2190.   The Fischer Court rejected the government’s “novel

interpretation” because it would wrongly “criminalize a broad swath of prosaic conduct, exposing

activists and lobbyists alike to decades in prison.”       Id. at 2189.    “Those peculiar results

underscore[d] the implausibility of the Government’s interpretation.” Id. (cleaned up).

          Before Fischer was decided, the Biden-Harris DOJ had used § 1512(c)(2) to either charge

or convict 259 people relating to events on January 6. DOJ “continues to assess” many of those

cases, but has already acknowledged thus far that the decision severely undermined their position

in at least 100 of them.4 Specifically, so far as has been disclosed, the decision forced prosecutors

to consent to the dismissal of § 1512(c)(2) convictions in 40 cases that had been adjudicated before

the Supreme Court issued Fischer, and to abandon § 1512(c)(2) charges for 60 more of those

defendants.5 President Trump’s case should be among the next to be abandoned and, if not, then

it should be dismissed.




4
  Press Release, U.S. Attorney’s Office for the Dist. of Columbia, 44 Months Since the Jan. 6
Attack on U.S. Capitol (Sept. 6, 2024), https://www.justice.gov/usao-dc/44-months-jan-6-attack-
us-capitol.
5
    Id.

                                                 4
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 5 of 14




           B. Fischer Mandates The Dismissal Of Counts Two And Three

       The Special Counsel’s Office relied largely on immune conduct to oppose President

Trump’s motion to dismiss Counts Two and Three of the original Indictment. The Superseding

Indictment contains many of the same allegations, and Fischer validates President Trump’s

arguments regarding the misuse of § 1512(c)(2) in this case. Therefore, Counts Two and Three

must be dismissed.

       Prior to Fischer, President Trump argued in the Motion that the violation of § 1512(c)(2)

alleged in Count Three of the Indictment was defective because, inter alia, submitting contingent

slates of electors and alternate certificates, and advocating that Vice President Pence take action

during the certification proceeding to investigate the integrity of the 2020 election was not

obstructive. See ECF No. 114 at 23. A conspiracy with that non-obstructive object does not violate

§ 1512(k), as charged in Count Two, either. See, e.g., United States v. Hemphill, 514 F.3d 1350,

1362 (D.C. Cir. 2008). President Trump’s interpretation of § 1512(c)(2) is endorsed by Fischer

and supported by the vagueness and fair-notice doctrines, the rules of lenity and interpretive

restraint, and the Constitutional avoidance canon based on First Amendment protections for the

political advocacy at issue. See ECF No. 114 at 23.

       The Special Counsel’s Office opposed the Motion by arguing that the charges were

“consistent with” the D.C. Circuit’s split decision in Fischer, which the Supreme Court later

overruled. ECF No. 139 at 33. The Office proceeded to use fanciful and inaccurate language to

describe actions by President Trump and his advisers that are subject to Presidential immunity.

See id. at 33-35. As President Trump will establish in his forthcoming response to the Office’s

Presidential immunity submission, the challenged conduct—when described accurately, placed in

context, and stripped of the Office’s misplaced rhetoric—“qualifies as official because it was



                                                5
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 6 of 14




undertaken to ensure the integrity and proper administration of the federal election.” Trump, 144

S. Ct. at 2338. These allegations do not constitute evidence impairment under Fischer.

       For example, in opposition to the Motion, the Office relied on an alleged communication

“within the Executive Branch.” ECF No. 139 at 33. However, the Office excised that allegation

from the Superseding Indictment, and all others like it, because the Supreme Court held that

President Trump is “absolutely immune from prosecution for the alleged conduct involving his

discussions with Justice Department officials.” Trump, 144 S. Ct. at 2335.

       The Special Counsel’s Office also cited exaggerated allegations concerning President

Trump’s interactions with Vice President Pence, which they included in the Superseding

Indictment as well. ECF No. 139 at 34; see also, e.g., ECF No. 226 ¶ 67. Under Fischer, these

allegations do not concern the type of evidence impairment that is within the scope of § 1512(c)(2).

In addition, the Supreme Court held that President Trump “is at least presumptively immune from

prosecution” based on those interactions. Trump, 144 S. Ct. at 2336.

       The Special Counsel’s Office pointed to alleged interactions with “state officials,” and

those allegations are included in the Superseding Indictment. ECF No. 139 at 33; see also, e.g.,

ECF No. 226 ¶ 29. These allegations lack the required nexus to evidence impairment under

Fischer. Further, President Trump will establish that these communications are also subject to

immunity. “[T]he President may speak on and discuss such matters with state officials—even

when no specific federal responsibility requires his communication—to encourage them to act in

a manner that promotes the President’s view of the public good.” Trump, 144 S. Ct. at 2338. This

follows from “the President’s broad power to speak on matters of public concern,” which includes

“public communications regarding the fairness and integrity of federal elections,” and Presidential

authority under the Take Care Clause. Id.



                                                 6
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 7 of 14




       The Special Counsel’s Office also sought to defend the § 1512 charges based on their false

allegations relating to responsibility for events on January 6. See ECF No. 139 at 34. They

continue to do so, including in the Superseding Indictment, where they falsely allege that President

Trump sought to “leverage” events at the Capitol to “retain power.” ECF No. 226 ¶ 14; see also

id. ¶ 11(d) (alleging inaccurately that President Trump “exploited the disruption”). These false

allegations do not render President Trump factually or legally responsible, let alone criminally

culpable, for the actions of others. Absent direct calls to imminent lawless action, which the Office

does not come close to alleging, bedrock First Amendment principles permit public speakers,

including President Trump on January 6, to speak their mind without fear of criminal prosecution

for the unlawful acts of others. See Brandenburg v. Ohio, 395 U.S. 444, 447-48 (1969); Watts v.

United States, 394 U.S. 705, 708 (1969).

       In addition, this theory relies on an impermissible and since-rejected “all-encompassing

interpretation” of § 1512(c)(2). Fischer, 144 S. Ct. at 2190. In opposition to the Motion, the

Office argued that § 1512(c)(2) applies in this case based on the conclusory claim that

“[p]reventing the Members of Congress from validating the state certificates constitutes evidence-

focused obstruction . . . .” ECF No. 139 at 36. Similarly, in the Superseding Indictment, the

Special Counsel falsely alleges that President Trump generally hoped to “obstruct or impede the

January 6 congressional proceeding.” ECF No. 226 at ¶ 4(a) (emphasis added). This is the same

argument the Supreme Court rejected in Fischer, where the petitioner was alleged to have

“delayed” the certification process. 144 S. Ct. at 2182. In reaching that conclusion, the Fischer

Court applied the restraint principle cited by President Trump. See id. at 2189 (“We have long

recognized that the power of punishment is vested in the legislative, not in the judicial department,

and we have as a result traditionally exercised restraint in assessing the reach of a federal criminal



                                                  7
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 8 of 14




statute.” (cleaned up)); see also ECF No. 114 at 19. Thus, Fischer makes clear that baseless

allegations of generalized obstruction of a “proceeding,” standing alone, is not enough to state an

offense under § 1512(c). See 144 S. Ct. at 2189 (“If Congress had wanted to authorize such

penalties for any conduct that delays or influences a proceeding in any way, it would have said

so.” (emphasis in original)).

       Section 1512(c)(2) is an “evidence-focused statute,” Fischer, 144 S. Ct. at 2189, and the

Office’s allegations, even when accepted as true, do not meet that requirement or the corresponding

mens rea element. Actions taken by President Trump, as President, based on concerns about “the

fairness and integrity” of the election, Trump, 144 S. Ct. at 2338, were not undertaken “corruptly”

under § 1512(c), and did not result in evidence impairment at the certification proceeding. The

focus of § 1512(c)(2) is narrowly tailored to the documents and objects that are “use[d] in an

official proceeding.” Fischer, 144 S. Ct. at 2190. The Superseding Indictment makes no allegation

that the documents were stolen, harmed, damaged, or concealed in any way. Rather, the certificates

remained under official control at all times, available for use—and in fact used—during the

certification proceeding.

           1. Physical Movement Of Electoral College Certificates Does Not Support
              § 1512(c)(2) Charges

       The Superseding Indictment relies in part on what amounts to an impermissible “certificate

movement” theory. Under this theory, the alleged § 1512(c) document is “the legitimate electors’

certificates of vote and their governors’ certificates of ascertainment,” which staffers allegedly

“evacuated from the Senate” after “the crowd at the Capitol broke into the building.” ECF No.

226 at ¶ 93. The incidental movement of documents from one room to another did not, as a matter

of law, “impair[] the availability or integrity for use in an official proceeding” of those documents.

Fischer, 144 S. Ct. at 2190. The Special Counsel’s Office has also failed to allege that President

                                                  8
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 9 of 14




Trump intended to impair the integrity or availability of these documents. The Superseding

Indictment does not allege that President Trump even considered the status of the allegedly

“legitimate” certificates in any manner, let alone intended to cause the movement of those

documents or to keep them away from Congress. The documents were simply moved by

functionaries from one room to another until Congress reconvened. If such ministerial acts,

routinely performed by government functionaries during adjournments, could form the basis of a

§ 1512(c)(2) charge, the restrictions of Fischer would be rendered a dead letter.

           2. The Transmission Of Contingent Certificates Does Not Support § 1512(c)(2)
              Charges

       The reliance by the Special Counsel’s Office on the transmission of alternate certificates

also fails as a matter of law. See, e.g., ECF No. 226 ¶ 11(b). Some of the certificates were refused

by the Archivist and the Vice President, so the Office has not adequately alleged that those objects

impacted the proceeding in any way. See id. ¶ 83. In reality, far from an impediment to the

certification proceeding, the then-existing version of the ECA acknowledged the possibility of

“more than one return or paper purporting to be” a certificate, and contemplated that Congress

would consider and pass upon “all the certificates and papers purporting to be certificates of the

electoral votes.” 3 U.S.C. § 15 (2020 ed.). The statute set forth a procedure for objections and

resolution of authenticity disputes. See id. (“Upon such reading of any such certificate or paper,

the President of the Senate shall call for objections, if any.”); see also Bush v. Gore, 531 U.S. 98,

127 (2000) (Stevens, J., dissenting) (reasoning that the Electoral Count Act “merely provide[s]

rules of decision for Congress to follow when selecting among conflicting slates of electors”).

Because these tasks were required by the ECA, actual or attempted transmission of alternate

certificates did nothing to impair the integrity or availability of any certificates, all of which

remained unaffected and available for full use during the entire certification proceeding.

                                                 9
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 10 of 14




       Based on these specific features of the ECA, the Supreme Court’s reference to “creating

false evidence” cannot save Counts Two and Three. Fischer, 144 S. Ct. 2186. The allegations

relating to alternate certificates are consistent with the ECA process rather than an obstruction to

it. The situation is therefore unlike the case cited in Fischer, United States v. Reich, where the

defendant forged a court order that “caused a litigant to withdraw a filing and contact a judge, and

caused Magistrate Judge Mann to issue an order explaining the falsity of the forged Order and to

convene a status conference to discuss it.” 479 F.3d 179, 187 (2d Cir. 2007). Insofar as the

certification proceeding is concerned—which must be the focus of § 1512(c)(2) charges relating

to a specific “proceeding”—any actions resulting from the alternate certificates were part of the

ECA process. Following that process to resolve objections and disputes, as required by the ECA,

did not “impair[] the integrity or availability” of any of the certificates. Fischer, 144 S. Ct. at

2190. There is no allegation that any certificates, including the ones the Office regards as

legitimate, were replaced or altered; the certificates remained available for use, unblemished,

during the certification proceeding. Therefore, the factual allegations by the Special Counsel’s

Office reflect activities that were consistent with the ECA process rather than an obstacle to it,

which is fatal to their transmission theory.

       The Special Counsel’s Office has ignored these aspects of the operative version of the ECA

and instead claimed that “political jousting” was not allowed that day. ECF No. 139 at 35 (cleaned

up). President Trump’s Constitutionally protected and immune advocacy regarding decisions

Congress and the Vice President could, or should, make in connection with the certification

proceeding in no way obstructed that proceeding, much less “impaired the availability or integrity

for use in an official proceeding of records, documents, objects.” Fischer, 144 S. Ct. at 2190. In

fact, there were entirely lawful debates regarding certificate objections by members of Congress



                                                10
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 11 of 14




on January 6. All of them were well aware of the contingent slates of electors, which had been

discussed publicly in advance of the proceeding, and some of the legislators expressed sincere and

widely shared concerns about the integrity of the 2020 election:

      “The Electoral Count Act explicitly allows objections such as this one for votes that were
       not regularly given. . . . This objection is for the State of Arizona, but it is broader than that.
       It is an objection for all six of the contested States to have a credible, objective, impartial
       body hear the evidence and make a conclusive determination. That would benefit both
       sides. That would improve the legitimacy of this election.” 167 Cong. Rec. S15 (2021).

      “They did an end-run around the Constitution in every State that Republicans will object
       to today. Every single one. It was a pattern. It was their template. They did it in Arizona.
       They did it in Georgia. They did it in Michigan. They did it in Pennsylvania. They did it
       in Nevada. They did it in Wisconsin.” 167 Cong. Rec. H79 (2021).

      “I join the objection to counting votes of electors from my home State of Arizona, as well
       as Georgia, Pennsylvania, Wisconsin, Michigan, and Nevada, because election integrity is
       the heart of our American constitutional republic[.]” 167 Cong. Rec. H80 (2021).

      “Since we are convinced that the election laws in Arizona and some other key States were
       changed in this unconstitutional manner, we have a responsibility today. The slates of
       electors produced under those modified laws are thus unconstitutional. They are not
       ‘‘regularly given’’ or ‘‘lawfully certified,’’ as required by the Electoral Count Act, and they
       are invalid on their face. That is just the conclusion that you have to reach.” 167 Cong.
       Rec. H84 (2021).

      “The bottom line for my constituents is that Pennsylvania’s officials, at all levels, failed to
       conduct a uniform and legal election, and for that reason, they inappropriately and
       unlawfully certified the State’s electors.” 167 Cong. Rec. H103 (2021).

To the extent President Trump’s official acts contributed to or otherwise facilitated this type of

debate “in a manner that promotes the President’s view of the public good,” that conduct was the

opposite of “corrupt[],” did not violate § 1512(c)(2), and is also subject to Presidential immunity.

Trump, 144 S. Ct. at 2338.

       The lack of obstruction and corrupt intent is underscored by the fact that Congress amended

the ECA in 2022 to say what the Special Counsel’s Office apparently wishes the statute said in

2020. See 3 U.S.C. § 5(c) (2024 ed.) (section entitled “Treatment of certificate as conclusive”).


                                                   11
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 12 of 14




Moreover, congressional remarks during the January 6 debates established that there is historical

precedent for certificate objections:

      “Some claim today’s objections set new precedent by challenging State electors. That
       claim, of course, ignores that Democrats have objected every time a Republican
       Presidential candidate has won an election over the past generation.” 167 Cong. Rec. H90
       (2021).

      “[N]ot since 1985 has a Republican President been sworn in absent some Democrat effort
       to object to the electors; but when we do it, it is the new violation of all norms.” 167 Cong.
       Rec. H92 (2021).

Thus, there is a long history of similar lawful efforts in connection with certification proceedings—

but no corresponding history of criminal prosecutions arising from activities that were provided

for in the ECA at the time. See ECF No. 114 at 29-31. “Such a lack of historical precedent is

generally telling indication of a severe constitutional problem with the asserted power.” Anderson,

601 U.S. at 113-14 (cleaned up). Accordingly, Counts Two and Three should be dismissed.

   C. Section 371 (Count One) And Section 241 (Count Four)

       Consistent with the fact that the Special Counsel’s Office has failed to present factual

allegations suggesting that President Trump acted “corruptly” in Counts Two and Three, the Office

has not adequately alleged that President Trump specifically intended to violate individual civil

rights as required by § 241, or acted deceptively under § 371. Similar to § 1512(c)(2), the Office’s

legally unsustainable application of these statutes seeks to justify efforts by “[a]n enterprising

prosecutor in a new administration” to “assert that a previous President violated [a] broad

statute”—which risks “[t]he enfeebling of the Presidency.” Trump, 144 S. Ct. at 2346. The Court

must reject that approach, as the Supreme Court repeatedly has.

       The Superseding Indictment lacks factual allegations to support the violation of § 241

charged in Count Four. Because President Trump’s public advocacy was consistent with historical

practice and the then-existing version of the ECA, his efforts to ensure the integrity of the election

                                                 12
        Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 13 of 14




furthered rather than harmed “the right to vote, and to have one’s vote counted.” ECF No. 226

¶ 106. For the same reason, the Special Counsel’s Office cannot establish that, “in the light of pre-

existing law the unlawfulness under the Constitution [was] apparent.” United States v. Lanier, 520

U.S. 259, 271-72 (1997) (cleaned up); see also ECF No. 114 at 28-29. This is fatal to § 241’s

specific intent requirement. See ECF No. 114 at 32-33. To hold otherwise would assign an

untenable scope to the statute—similar to the unlawful breadth that DOJ unsuccessfully advocated

for § 1512(c)(2) in Fischer—and result in unconstitutional fair-notice and vagueness defects.

Therefore, Count Four should be dismissed.

       As to § 371, President Trump argued in the Motion that the theory of the Special Counsel’s

Office is unlawfully broad because, under McDonnell v. United States, their interpretation would

“cast a pall of potential prosecution” over the “basic compact underlying representative

government,” which “‘assumes that public officials will hear from their constituents and act

appropriately on their concerns.’” ECF No. 114 at 15 (quoting 579 U.S. 550, 575 (2016)). In

Trump, the Supreme Court confirmed that the “pall of potential prosecution” discussed in

McDonnell presents “unique risks to the effective functioning of government” and harms the

compelling “public interest in fair and effective law enforcement.” 144 S. Ct. at 2331 (cleaned

up). Again, this is just the sort of overbroad, atextual interpretation that the Supreme Court rejected

in Fischer. That reasoning further supports President Trump’s Motion to dismiss Count One.




                                                  13
       Case 1:23-cr-00257-TSC Document 255 Filed 10/03/24 Page 14 of 14




III.   Conclusion

       For the foregoing reasons, as well as those set forth in prior filings in support of the Motion,

the Superseding Indictment should be dismissed.

 Dated: October 3, 2024                             Respectfully submitted,

 /s/ John F. Lauro / Gregory Singer                 /s/ Todd Blanche / Emil Bove
 John F. Lauro, Esq.                                Todd Blanche, Esq. (PHV)
 D.C. Bar No. 392830                                ToddBlanche@blanchelaw.com
 jlauro@laurosinger.com                             Emil Bove, Esq. (PHV)
 Gregory M. Singer, Esq. (PHV)                      Emil.Bove@blanchelaw.com
 gsinger@laurosinger.com                            BLANCHE LAW PLLC
 LAURO & SINGER                                     99 Wall St., Suite 4460
 400 N. Tampa St., 15th Floor                       New York, NY 10005
 Tampa, FL 33602                                    (212) 716-1250
 (813) 222-8990

                                                    Counsel for President Donald J. Trump




                                                 14
